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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

GREGORY F. WATKINS,                               §
TDCJ No. 02116666,                                §
     Petitioner,                                  §
                                                  §
V.                                                §           A-18-CV-00715-LY
                                                  §
LORIE DAVIS,                                      §
     Respondent.                                  §

                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

TO:    THE HONORABLE LEE YEAKEL
       UNITED STATES DISTRICT JUDGE

       The Magistrate Judge submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b) and Rule 1(e) of Appendix C of the Local Court Rules of the United

States District Court for the Western District of Texas, Local Rules for the Assignment of Duties to

United States Magistrates. Petitioner, Gregory Watkins, is pro se in this matter and has paid the full

filing fee. Before the Court are Petitioner’s Application for Writ of Habeas Corpus under 28 U.S.C.

§ 2254 (ECF No. 1), Respondent’s Answer (ECF No. 9), and Petitioner’s Reply (ECF No. 11). For

the reasons set forth below, the undersigned recommends that Petitioner’s Application for Writ of

Habeas Corpus be denied.

                                 STATEMENT OF THE CASE

       According to Respondent, the Director has lawful and valid custody of Petitioner pursuant

to a judgment and sentence of the 403rd District Court of Travis County, Texas. A jury found

Petitioner guilty of delivery of cocaine in a drug-free zone, enhanced by a prior felony conviction,

and assessed punishment at a term of seven years and six months confinement. In this habeas action
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Petitioner asserts he was denied the effective assistance of counsel; the evidence was insufficient to

support his conviction; and that evidence was withheld, altered, and destroyed.

       A. Background

       The Thirteenth Court of Appeals summarized the testimony presented at Petitioner’s trial as

follows:

              At 10:08 P.M. on October 21, 2015, during an undercover drug operation,
       appellant allegedly sold .182 grams of crack cocaine to Officer Patrick Reed for $25.
       The transaction took place at or near the northwest corner of East 7th Street and Red
       River Street in Austin, Texas. According to Officer Reed’s testimony, appellant
       removed the narcotics from his mouth, then discretely exchanged the drugs for
       money. Officer Reed paid with predetermined “buy money” that had specific
       notations logged with his team. While multiple videos show Officer Reed interacting
       with an individual at the time of the transaction, no video shows the cocaine and
       money transferring hands. Officer Reed described the individual as a tall black male,
       wearing a black t-shirt, blue jean shorts, and a backpack. In accordance with the
       “buy/walk” procedure, Officer Reed returned with the drugs to the field team a few
       blocks away. Officer Reed testified that a “buy/walk” procedure involves an
       undercover officer purchasing contraband and leaving the scene with the drugs while
       another officer later arrests the individual.

               Officer Reed testified that a school was in the vicinity of the alleged drug
       transaction. According to Officer Reed, St. David’s Episcopal Day School is located
       at 301 East 8th Street. Officer Reed testified that he utilized two methods to measure
       the distance from the transaction location to the school: Google Earth on his
       computer and the GPS device in his patrol car. From address to address, Google
       Earth represented the distance as 722 feet while his patrol car’s GPS indicated that
       the two locations were 739 feet apart. Sara Davis, an analyst for the Austin Police
       Department, testified that she used ArcGIS software to conclude that the transaction
       zone was about 750 feet from the school. However, she estimated the perimeter of
       the school by using general, rather than fixed, property lines when measuring the
       distance between locations. Finally, appellant introduced evidence showing that two
       other direct routes, not calculated by the State, would place the two addresses more
       than 1,000 feet apart, beyond the range prohibited by the drug-free zone statute. []

              Officer Tyson Setzler also testified at trial. According to Officer Setzler, he
       conducted surveillance the night of the alleged transaction. During his surveillance,
       he witnessed Officer Reed approach an individual at the corner of East 7th and Red
       River Street. According to Officer Setzler’s testimony, the individual was wearing


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       a dark-colored short sleeve shirt, light-colored blue jean shorts, a dark hat with a
       light-colored bill and white writing, white shoes and socks, and a dark-colored
       backpack. Officer Setzler testified that after the transaction occurred, Officer Reed
       provided the surveillance team with auditory confirmation that a deal had occurred
       and informed the team who to follow. While Officer Setzler monitored the
       individual, he was in audio contact with Officer Justin Berry, the “takedown officer,”
       who eventually stopped appellant. At trial, Officer Setzler elected not to identify
       appellant as the individual who transferred the drugs because he was not personally
       at the scene during the transaction and was not at Officer Berry’s stop.

               Officer Berry testified that, based on Officer Setzler’s description, he stopped
       an individual, around 10:30 P.M., a few blocks from the transaction because of the
       individual’s suspicious lurking near an ATM. That individual told Officer Berry that
       his name was Gregory Watkins and that his birthdate was April 21, 1970; he
       provided Officer Berry unofficial identification paperwork. According to Officer
       Berry, he then performed a regular frisk, commonly associated with a safety search,
       rather than a more extensive pat-down search. Officer Berry testified that he never
       searched appellant’s person or backpack for drugs and never asked for any of the
       marked, predetermined buy money. Officer Berry’s dash cam recorded his
       interactions with the individual. Officer Berry did not arrest appellant that evening.
       During trial, Officer Berry stated he verified the individual’s identification through
       a reliable database, then confirmed under oath that appellant, who was at trial, was
       the individual he stopped.

              During trial, Officer Reed testified that the individual on Officer Berry’s dash
       cam video was the individual from whom he purchased drugs.

               At the completion of the State’s case, appellant filed a motion for a directed
       verdict, which the trial court denied.

Watkins v. State, No. 13-16-00387-CR, 2017 WL 2808101, at *1-2 (Tex. App.–Corpus Christi-

Edinburg 2017, pet. ref’d). Petitioner did not testify at his trial, and the jury deliberated for

approximately an hour and a half before reaching its verdict. (ECF No. 10-19 at 170-71). Petitioner

did testify during the punishment phase of the proceedings, telling the jury that he was raised in

foster care and had been diagnosed as schizophrenic. (ECF No. 10-20 at 100-07, 132-35).

       Petitioner appealed his conviction, arguing there was insufficient evidence to identify him

as the individual who sold the drugs to Officer Reed and insufficient evidence that the drugs were


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sold within a drug-free zone. Watkins, 2017 WL 2808101, at *1. The appellate court overruled both

issues and affirmed the trial court’s judgment. Id. at *4. The Texas Court of Criminal Appeals denied

a petition for discretionary review. (ECF No. 10-10).

        Petitioner sought a state writ of habeas corpus, asserting he was denied the effective

assistance of counsel; the video evidence presented by the State was misleading, distorted, edited,

enhanced, and unclear; the jury was not presented with exculpatory evidence; Officer Reed

purposefully did not record identifying information; and the evidence was insufficient to support his

conviction. (ECF No. 10-27 at 18-29). The Court of Criminal Appeals denied the writ without

written order. (ECF No. 10-26).

        B. Petitioner’s Grounds for Relief

        In his federal habeas petition Petitioner asserts the State withheld evidence; video evidence

was deleted, altered, or destroyed by the Austin Police Department or the State; the evidence was

insufficient to support his conviction; and he was denied the effective assistance of counsel.

        C. Exhaustion of State Court Remedies

        Respondent allows Petitioner’s petition is timely and not successive. Respondent asserts

some of Petitioner’s habeas claims are procedurally defaulted. (ECF No. 9 at 2).1

                                                 ANALYSIS

        A. The Antiterrorism and Effective Death Penalty Act of 1996

        The Supreme Court summarized the basic principles established by the Court’s many cases

interpreting the 1996 Antiterrorism and Effective Death Penalty Act (“AEDPA”) in Harrington v.



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         Regardless of any failure to properly exhaust any of his claims in the state courts, all of Petitioner’s
claims may be denied on the merits. See Nobles v. Johnson, 127 F.3d 409, 423 (5th Cir. 1997).

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Richter, 562 U.S. 86, 97-100 (2011). Section 2254(d) permits the granting of federal habeas relief

in only three circumstances: (1) when the state court’s decision “was contrary to” federal law as

clearly established by the holdings of the Supreme Court; (2) when the state court’s decision

involved an “unreasonable application” of such law; or (3) when the decision “was based on an

unreasonable determination of the facts” in light of the record before the state court. Id. at 100 (citing

Williams v. Taylor, 529 U.S. 362, 412 (2000)).

        Under the “contrary to” clause, a federal habeas court may grant the writ if the state court

arrives at a conclusion opposite to that reached by the Supreme Court on a question of law, or if the

state court decides a case differently than the Supreme Court on a set of materially indistinguishable

facts. Thaler v. Haynes, 559 U.S. 43, 47 (2010); Mitchell v. Esparza, 540 U.S. 12, 16 (2003). Under

the unreasonable application clause of § 2254(d), a federal court may grant the writ if the state court

identifies the correct governing legal principle from the Supreme Court’s decisions, “but

unreasonably applies that principle to the facts of the prisoner’s case.” Dowthitt v. Johnson, 230

F.3d 733, 741 (5th Cir. 2000) (quotation marks and citation omitted). Where, as here, the

state-court’s denial of a petitioner’s claims is unexplained, a federal habeas court reviews the state

court’s “ultimate decision” for reasonableness. Floyd v. Vannoy, 894 F.3d 143, 161 (5th Cir. 2018),

cert. denied, 2018 WL 4600003 (Nov. 19, 2018) (No. 18-380). The federal habeas court “must

hypothesize the reasons that supported, or could have supported, the denial consistent with Supreme

Court precedent. The decision is an ‘unreasonable application’ under 28 U.S.C. § 2254(d) only if,

after this hypothetical inquiry, [the federal habeas court] determine[s] there was no reasonable basis

for it.” Id. (internal citations omitted).




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       B. The Strickland Standard

       Ineffective assistance of counsel claims are analyzed under the well-settled standard set forth

in Strickland v. Washington, 466 U.S. 668 (1984). To succeed on an ineffective assistance of counsel

claim, the petitioner must establish counsel’s performance was deficient and the deficient

performance prejudiced the defense. Id. at 687. A habeas petitioner has the burden to prove both

prongs of the Strickland test. Rogers v. Quarterman, 555 F.3d 483, 489 (5th Cir. 2009); Blanton v.

Quarterman, 543 F.3d 230, 235 (5th Cir. 2008). Unless the petitioner demonstrates both deficient

performance and prejudice it “cannot be said that the conviction . . . resulted from a breakdown in

the adversary process that renders the result unreliable.” Strickland, 466 U.S. at 687.

       When deciding whether counsel’s performance was deficient, the Court “must indulge a

strong presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance; that is, the defendant must overcome the presumption that, under the circumstances, the

challenged action might be considered sound trial strategy.” Id. at 688-89. Federal habeas courts

presume that counsel’s choice of trial strategy is objectively reasonable unless clearly proven

otherwise. Id. at 689. Counsel’s strategic choices, made after a thorough investigation of the law and

facts relevant to plausible options, are virtually unchallengeable. Id. at 673; Pape v. Thaler, 645

F.3d 281, 289-90 (5th Cir. 2011). Additionally, the reasonableness of counsel’s actions is weighed

in light of the defendant’s own statements and actions. Strickland, 466 U.S. at 691. When

considering a state court’s application of Strickland, the Court’s review must be “doubly

deferential,” to afford “both the state court and the defense attorney the benefit of the doubt.” Woods

v. Donald, 135 S. Ct. 1372, 1376 (2015) (citing Yarborough v. Gentry, 540 U.S. 1, 6 (2003)).




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        C. Merits

        1. Ineffective assistance of counsel

        Petitioner asserts counsel’s performance was deficient because counsel did not present

Petitioner with the entire police report and did not ensure Petitioner was able to view all of the video

evidence prior to trial. (ECF No. 1 at 11). Petitioner alleges counsel merely described the video

evidence to him as incriminating and told him it would be in his “best interest” to plead guilty. (ECF

No. 1 at 12). Petitioner asserts his “ex-district attorney-turned public defender worked in the interest

of the state,” (ECF No. 1 at 6), arguing counsel was loyal to the prosecution because he was “an ex-

district attorney.” (ECF No. 1 at 12). He contends: “The fact that he didn’t show me all the video

footage or allow me to read the written police report makes him [ineffective] as an attorney.” (Id.).

The Court of Criminal Appeals denied relief on all of the ineffective assistance of counsel claims

raised in Petitioner’s state habeas action.

        At a pretrial hearing the State offered to waive the drug-free zone enhancement and agree to

the minimum sentence of two years confinement if Petitioner pleaded guilty. (ECF No. 10-16 at 5-6).

Defense counsel informed the trial court there was a videotape of the transaction between Petitioner

and Officer Reed, which had not been provided to the defense. (ECF No. 10-16 at 6, 8). The

prosecutor stated: “I’m sure we have it.” (ECF No. 10-16 at 7-8). The following colloquy then

occurred:

        THE COURT: You’re saying you have a videotape of the actual transaction itself?
        [The State]: I have not reviewed it myself, but we do have video footage. I have to
        go back and look at it, but I can review also — I’ll get that [HALO] video and see if
        we can see it from that perspective, which is the City’s cameras over the ARCH. But
        I’ll get that in preparation for trial.
                                                  ***



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       [Defense Counsel]: Do you want to set it on the next docket call? You’re not going
       to plead, is that correct?
       THE DEFENDANT: No, I’m not. I didn’t do this.

(ECF No. 10-16 at 8-9). At the next hearing, the following colloquy occurred:

       THE COURT: State, has there been an offer made that you have put on the record?
       [The State]: Yes, Your Honor. We would waive the drug free zone and all of the
       enhancements and offer two years. Originally I said that it expired April 28th of
       2016; however, we did acquire a HALO video with video footage of the transaction
       and the arrest and it just — I’m willing to leave it open today for two years which is
       the absolute positive minimum on this case.
       THE COURT: So, Mr. Watkins, you understand what they are saying?
       THE DEFENDANT: Yes, I do.
       THE COURT: Is it your desire to accept or reject that offer?
       THE DEFENDANT: I have to reject that offer because it’s not me in the video.

(ECF No. 10-17 at 5). These colloquies indicates Petitioner did view the video of the transaction and

his arrest and nonetheless determined to contest his guilt at trial.

       At trial, after the State rested its case and, outside the presence of the jury, counsel made a

record of Petitioner’s decision not to testify. (ECF No. 10-19 at 129-30). Then the following

colloquy occurred:

       [Defense counsel]: Do you have any complaints about my representation of you?
       THE DEFENDANT: No.
       [Defense counsel]: Do you have any complaints about my preparation?
       THE DEFENDANT: No, sir.
       [Defense Counsel]: Are you satisfied with my representation of you so far?
       THE DEFENDANT: Yes, sir.

(ECF No. 10-19 at 130). This colloquy indicates Petitioner believed his counsel’s pretrial preparation

and trial strategy were both adequate and approved by Petitioner.

       The state court could reasonably conclude Petitioner’s counsel was not ineffective. A review

of the trial transcript indicates counsel was familiar with the evidence produced by the state,

including the video evidence, and counsel had a reasonable trial strategy, i.e., to assert the defenses


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of mistaken identity and reasonable doubt.2 Additionally, Petitioner is unable to establish any

prejudice arising from counsel’s alleged failure to review the entire police report with Petitioner, and

the transcript of the second pretrial proceeding indicates Petitioner had reviewed the video-taped

evidence.

        Petitioner contends he was not provided with video that purportedly showed him “smoking

drugs.” (ECF No. 1 at 11). Broadly construing this claim, Petitioner implies he would have accepted

the plea offer if he had known the jury would be shown this video. However, this claim is belied by

Petitioner’s statement at the pretrial hearing that he would not plead guilty because he was not the

individual who sold Officer Reed drugs. Additionally, defense counsel filed a successful motion in

limine which prevented the jury from seeing the portion of the video which purportedly showed

Petitioner “smoking drugs.” (ECF No. 10-19 at 81, 137-38).

        Nor did counsel have a conflict of interest because he had previously worked as a prosecutor.

To establish a conflict of interest on the part of defense counsel, the petitioner must show “an actual

conflict of interest adversely affected his lawyer’s performance,” such as multiple representation of

adverse interests, or another “type of conflict” which actually prejudiced the defendant. Beets v.

Scott, 65 F.3d 1258, 1265 (5th Cir. 1995) (citing Cuyler v. Sullivan, 446 U.S. 335, 348 (1980)). Prior

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          Counsel told the jury in opening argument:
        . . .The evidence will also show you that when they stopped and detained my client, the
        evidence will show that he had no cocaine on him and, more importantly, he didn’t have any
        of the money that he supposedly had gotten from the police officer. Neither one of these
        items were on him.
                 So the evidence will show you when you get done that there’s clearly a reasonable
        doubt that this is within 1,000 feet of the school. Also, the evidence will be clear to you
        beyond a reasonable doubt that the State has failed to prove beyond a reasonable doubt that
        my client delivered cocaine to a police officer . . .
(ECF No. 10-19 at 13-14). Counsel emphasized that the police purposefully did not search Petitioner or his
backpack shortly after the transaction to establish his possession of the money transferred by Officer Reed,
although they could legitimately have done so. (ECF No. 10-19 at 101-02, 105).

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employment as a prosecutor, standing alone, does not create a conflict of interest, even where the

prior prosecutorial experience included prosecuting the defendant. Hernandez v. Johnson, 108 F.3d

554, 560 (5th Cir. 1997). The trial transcript reveals counsel’s performance was not below prevailing

professional norms; counsel mastered the evidence, ably cross-examined the State’s witnesses, and

presented and argued a sound defense to the jury. Petitioner has not shown counsel’s putative

conflict caused him to forego a successful trial strategy.

       Because Petitioner has failed to establish either deficient performance or prejudice, his

Strickland claims are without merit and must be denied.

       2. Brady claims

       Citing Brady v. Maryland, Petitioner alleges the State withheld portions of available HALO

video footage from the jury, noting the video was “edited with no audio or sound.” (ECF No. 1 at

6, 14). He further asserts a “portion of the video” showing Petitioner using drugs, “which my lawyer

told me about was not shown to the jury.” (ECF No. 1 at 6, 14).

       The elements of a Brady claim are: (1) the evidence at issue must be favorable to the accused;

(2) the evidence must have been suppressed by the State, either willfully or inadvertently; and (3)

the evidence must be “material” to the defendant’s guilt or punishment. Banks v. Dretke, 540 U.S.

668, 691 (2004). The good or bad faith of the prosecution in suppressing the evidence is irrelevant.

Kyles v. Whitley, 514 U.S. 419, 432 (1995) (citing Brady v. Maryland, 373 U.S. 83, 87 (1963)).

       Petitioner’s allegation that the State withheld video evidence from the defense is not

supported by the record. The trial transcript indicates defense counsel reviewed all the available

video footage prior to trial and, accordingly, Petitioner fails to show the evidence was suppressed.

Petitioner has not described how any “edited” portion of video was material to his defense. Even if


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the video was edited, the mere possibility that an item of undisclosed information might have helped

the defense does not establish the information was “material” sufficient to establish a Brady

violation; to succeed on a Brady claim the defendant must show that the omitted evidence “could

reasonably be taken to put the whole case in a different light so as to undermine confidence in the

verdict.” Rector v. Johnson, 120 F.3d 551, 562 (5th Cir. 1997). Petitioner has not shown that any

omitted portion of the video or audio record of the transaction or his detention by Officer Berry

would strengthen his defense. See Floyd, 894 F.3d at 163 (noting “ Supreme Court precedent defines

evidence tending to strengthen a defense as favorable evidence under Brady.”).

          Furthermore, although Petitioner asserts the video of him using drugs was “material” to his

punishment, he supports this argument only by asserting “jurys (sic) are likely to give less time to

addicted drug users than to drug dealers.” (ECF No. 1 at 14). Because Petitioner testified during the

punishment phase that he was an addict and that he dealt only small quantities of drugs in order to

support his addiction, it is not likely the omitted video evidence of Petitioner smoking something,

which was not shown to the jury, was material to his punishment. Additionally, this evidence was

not “withheld;” a defendant cannot establish a Brady claim based on withheld evidence if he had

knowledge of the evidence prior to trial. See, e.g., West v. Johnson, 92 F.3d 1385, 1399 (5th Cir.

1996) (holding “[e]vidence is not ‘suppressed’ if the defendant either knew, or should have known

of the essential facts permitting him to take advantage of any exculpatory evidence.”); Williams v.

Scott, 35 F.3d 159, 163 (5th Cir. 1994). Because Petitioner has not established the elements of a

Brady claim regarding omitted video footage or audio evidence, relief on these claims must be

denied.




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       3. Youngblood claims

       Petitioner alleges that the State or the Austin Police Department destroyed video and audio

from Officer Reed’s bodycam. (ECF No. 1 at 7, 16). To be entitled to relief on a claim of lost

evidence, the exculpatory value of the evidence must be apparent before the evidence was destroyed.

California v. Trombetta, 467 U.S. 479, 489 (1984). Petitioner has made no showing that any video

or audio evidence was destroyed, or that any video or audio evidence was apparently exculpatory

before the alleged destruction of the evidence.

       If the exculpatory value of the purportedly destroyed evidence was in question, the failure

of law enforcement to preserve the evidence does not violate the Due Process Clause absent a

showing of bad faith. Arizona v. Youngblood, 488 U.S. 51, 57-58 (1988) (“unless a criminal

defendant can show bad faith on the part of the police, failure to preserve potentially useful evidence

does not constitute a denial of due process of law.”). Petitioner makes only a conclusory and

unsupported assertion that the State or the police department destroyed any audio or video evidence,

and he makes only a conclusory and unsupported allegation that these entities acted in bad faith.

       With respect to the HALO video, nothing in the record suggests that the State intentionally

removed audio from the footage or that the audio would have been useful to Petitioner’s defense.

Petitioner does not delineate what the purportedly deleted video would have shown or how this

omission prejudiced his defense. His claim consists entirely of the statements: “The [HALO] video

evidence shown to the jury was computer edited with no audio or sound;” “The [HALO] video[] had

been computer edited to mislead the jury;” and “By not showing the entire video from beginning to

end allowed [the prosecutor] to delete[] portions that would prove that Officer [] Reed did not

receive drugs . . .” (ECF No. 1 at 6, 14.9) Petitioner’s conclusory allegations of Brady violations are


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insufficient to establish an entitlement to habeas relief. See Murphy v. Johnson, 205 F.3d 809, 814

(5th Cir. 2000) (holding speculative or conclusory allegations cannot support a Brady claim);

Schlang v. Heard, 691 F.2d 796, 799 (5th Cir. 1982) (“Mere conclusory statements do not raise a

constitutional issue in a habeas case.”); Ross v. Estelle, 694 F.2d 1008, 1011-12 & n.2 (5th Cir.

1983) (holding that, absent evidence in the record, a court cannot consider a habeas petitioner’s bald

assertions on a critical issue in his pro se petition, unsupported and unsupportable by anything else

contained in the record, to be of probative evidentiary value).

       4. The evidence was insufficient to support his conviction

       Petitioner contends that there was insufficient evidence to support his conviction. (ECF No.

1 at 7). Petitioner raised this claim in his appeal, and relief was denied.

       The appellate court found the evidence was sufficient to establish Petitioner was the person

who sold less than a gram of cocaine to an undercover officer on October 21, 2015. Watkins, 2017

WL 2808101, at *2-4, 10. The court reasoned:

               A person commits the offense of manufacture or delivery of a controlled
       substance if he knowingly manufactures, delivers, or possesses with intent to deliver
       a controlled substance in Penalty Group 1. Tex. Health & Safety Code Ann.
       § 481.112(a). Penalty Group 1 includes, inter alia, cocaine. Id. § 481.102(3)(D) [].
       The knowing delivery of a controlled substance is a state-jail felony if the amount of
       controlled substance, by aggregate weight, including adulterants or dilutants, is less
       than one gram. Id. § 481.112(b). A state-jail felony for distribution of a controlled
       substance is enhanced to a third-degree felony if it is shown that the offense was
       committed in, on, or within 1,000 feet of any real property that is owned, rented or
       leased to a school or school board. Id. § 481.134(d)(1).

                                                 ***
               There is sufficient evidence, when considered collectively, that appellant sold
       Officer Reed cocaine. See Johnson, 871 S.W.2d at 186. Although the State lacked
       video evidence of appellant selling the cocaine, the description of appellant provided
       by the buying officer to the surveillance team, then ultimately to the takedown
       officer, acted as connective tissue that eventually led to Officer Berry stopping him.


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       Specifically, Officer Reed immediately returned to the field team where a field
       technician tested the contraband as a presumptive positive of cocaine. Later, a lab
       technician verified the presumptive positive as .182 grams of cocaine. Officer Reed
       provided his team with a description of appellant as wearing a black t-shirt, blue jean
       shorts, and a backpack at the time of the exchange. This description was additionally
       confirmed by Officer Setzler who operated the surveillance cameras. Officer Berry
       testified and provided a dash cam video of an individual matching that description
       whom he stopped within twenty minutes of the initial incident. That individual, on
       video, identified himself as appellant. Moreover, during trial, Officer Reed testified
       that the man depicted on the dash cam video was, in fact, the individual from whom
       he purchased drugs. The picture Officer Berry provided was taken after appellant
       offered his name, birthdate, and corresponding identification documents. Each of the
       officers’ similar descriptions would lead to a reasonable inference that Officer Berry
       stopped the individual from whom Officer Reed purchased cocaine; such
       circumstantial evidence is sufficient. See Guevara, 152 S.W.3d at 49; see also
       Marines v. State, 292 S.W.3d 103, 107 (Tex. App.–Houston [14th Dist.] 2008, pet.
       ref’d) (finding sufficient evidence existed when a police officer arrested an individual
       who matched the witnesses’ descriptions of the shooter).

                The lack of video evidence of the exchange and Officer Berry’s decision not
       to arrest appellant or to perform a more extensive search of appellant that evening are
       not dispositive. See Guevara, 152 S.W.3d at 49. Instead, the combined and
       cumulative force of evidence rationally supports the conviction. See Johnson, 871
       S.W.2d at 186. While performing a more extensive search may have led Officer
       Berry to discover additional drugs on appellant’s person or arresting appellant could
       have allowed Officer Reed to verify that appellant was the individual from whom he
       purchased drugs, as both Officers Reed and Berry explained, the incident with
       appellant that evening was part of a broader operation. According to the officers’
       testimony, Officer Berry decided not to arrest appellant in accordance with his orders
       to avoid exposing the undercover operations in which Officer Reed and other agents
       were actively participating. Appellant suggests that this Court should evaluate what
       other reasonable steps Officer Berry could have taken that evening. However, the role
       of this Court is to consider the sufficiency of existing evidence rather than the lack
       of hypothetical evidence. See Jackson, 443 U.S. at 319. This Court, instead, defers
       to the factfinder’s assessment of both the officer’s and the evidence’s credibility. See
       Brooks, 323 S.W.3d at 894. As discussed earlier, the evidence provided by the State,
       in its combined and cumulative force, supports a rational judgment for the State in
       regards to appellant’s identity as the narcotics dealer.

Id., 2017 WL 2808101, at *3-4.




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        The appellate court’s denial of this claim was not contrary to or an unreasonable application

of federal law. The controlling federal law with regard to an insufficiency of the evidence claim is

stated in Jackson v. Virginia, 443 U.S. 307 (1979). To be entitled to relief on a sufficiency of the

evidence claim, a petitioner must prove that no rational trier of fact could have found the existence

of facts necessary to establish guilt beyond a reasonable doubt. Jackson, 443 U.S. at 324-26. When

applying this standard, all evidence is viewed in the light most favorable to the prosecution, and all

credibility choices and conflicts in the evidence are resolved in favor of the verdict. Id. at 319;

Ramirez v. Dretke, 398 F.3d 691, 695 (5th Cir. 2005). A federal habeas court “must defer to the

factual findings in the state court proceedings,” and “respect the ability of the fact-finder to evaluate

the credibility of the witnesses.” Knox v. Butler, 884 F.2d 849, 851 (5th Cir. 1989).

        In this matter, the jury’s decision was predicated on circumstantial evidence, and the

testimony of Officer Reed and Officer Berry as supported by the video evidence. The credibility of

witnesses is generally beyond the scope of review in a federal habeas corpus proceeding applying

Jackson. See Schlup v. Delo, 513 U.S. 298, 330 (1995); Ramirez v. Dretke, 398 F.3d at 695.

Additionally, circumstantial evidence is sufficient to support a conviction under the Jackson

standard. Green v. Johnson, 160 F.3d 1029, 1047 (5th Cir. 1998); Schrader v. Whitley, 904 F.2d 282,

287 (5th Cir. 1990).

                                           CONCLUSION

        Petitioner has not established his counsel’s performance was deficient or that he was

prejudiced by counsel’s alleged errors. Petitioner has not established he is entitled to relief pursuant

to Brady or Youngblood, or that the evidence was insufficient to support his conviction.




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                                     RECOMMENDATION

       It is, therefore, recommended that Petitioner’s Application for Writ of Habeas Corpus (ECF

No. 1) be DENIED.

                            CERTIFICATE OF APPEALABILITY

       An appeal may not be taken to the court of appeals from a final order in a habeas corpus

proceeding “unless a circuit justice or judge issues a certificate of appealability.” 28 U.S.C.

§ 2253(c)(1)(A). Pursuant to Rule 11 of the Federal Rules Governing Section 2254 Cases, the district

court must issue or deny a certificate of appealability when it enters a final order adverse to the

applicant.

       A certificate of appealability may issue only if a petitioner has made a substantial showing

of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2). The Supreme Court fully explained

the requirement associated with a “substantial showing of the denial of a constitutional right” in

Slack v. McDaniel, 529 U.S. 473, 484 (2000). In cases where a district court rejected a petitioner’s

constitutional claims on the merits, “the petitioner must demonstrate that reasonable jurists would

find the district court’s assessment of the constitutional claims debatable or wrong.” Id.

       In this case, reasonable jurists could not debate the denial of the section 2254 petition, nor

find that the issues presented are adequate to deserve encouragement to proceed. Miller-El v.

Cockrell, 537 U.S. 322, 327 (2003) (citing Slack, 529 U.S. at 484). Accordingly, it is respectfully

recommended that the Court not issue a certificate of appealability.

                                         OBJECTIONS

       The parties may file objections to this Report and Recommendation. A party filing objections

must specifically identify those findings or recommendations to which objections are being made.


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The District Court need not consider frivolous, conclusive, or general objections. Battles v. United

States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the Report

shall bar that party from de novo review by the district court of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by the

district court. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-153 (1985).

       SIGNED on January 7, 2019.




                                             _____________________________________
                                             MARK LANE
                                             UNITED STATES MAGISTRATE JUDGE




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